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                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7
     CARL CRUZ,
 8
                                 Plaintiff,                  Case No. C24-0399 RSM
 9
            v.                                               ORDER AMENDING THE
10                                                           SCHEDULING ORER
     COMMISSIONER OF SOCIAL SECURITY,
11
                                 Defendant.
12

13          Based on Defendant’s Motion for Extension, and given that Plaintiff’s Counsel has no

14   opposition, it is hereby ORDERED that the Scheduling Order is amended as follows:

15          •     Defendant shall have up to and including August 26, 2024, to file a responsive brief.

16          •     Plaintiff’s reply brief shall be due on or before September 9, 2024.

17          DATED this 25th day of July, 2024

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                                                            A
                                                            Ricardo S. Martinez
                                                            United States District Judge
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     ORDER AMENDING THE SCHEDULING ORER - 1
